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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PHYTO TECH CORD. d/b/a BLUE CALIFORNIA,
Plaintiff, 19-cy-09033-JGK
v.
GIVAUDAN SA,
Defendant.
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[PROPOSED] ORDER

AND NOW, this _/ @ day of Mic , 2023, upon consideration of Phyto Tech
Corp. d/b/a Blue California’s Motion to Enforce Order on Dissolution of BGN Tech LLC, it is
hereby ORDERED that the Motion is GRANTED. Mr. Andrew De Camara, liquidating trustee
of BGN Tech LLC (the “Trustee”), is hereby ORDERED, within ten (10) days, to distribute any
and all funds held by BGN Tech LLC to its members consistent with the Trustee’s Final Report
and Motion, as previously approved by the Court, and subject to a holdback for future costs of no

more than $1,000,000. See Dkt. No. 100,

SO ORDERED:
_ Cliele

fon, un G. Koeltl, District Judge
Dated: 3K & / a 3

 

 

 
